         Case 23-90116 Document 2670 Filed in TXSB on 11/14/24 Page 1 of 2

                                      Electronic Appearance Sheet


Sam Carp, Pro Se, None, Pro Se
Client(s): NA

Brian Hermann, Paul, Weiss, Rifkind, Wharton & Garrison LLP
Client(s): Debtors

Joe Graham, Paul, Weiss, Rifkind, Wharton & Garrison LLP
Client(s): Debtors

David Weitman, K&L Gates LLP
Client(s): Delaware Trust Company

David Trausch, Haynes and Boone, LLP
Client(s): National Hockey League

Shana Elberg, Skadden, Arps, Slate, Meagher & Flom LLP
Client(s): National Hockey League

Brian Hermann, Paul, Weiss, Rifkind, Wharton & Garrison LLP
Client(s): Debtors

Joe Graham, Paul, Weiss, Rifkind, Wharton & Garrison LLP
Client(s): Debtors

Benjamin Feder, Kelley Drye & Warren LLP
Client(s): U.S. Bank Trust Company, National Association, as indenture trustee for 6.625% Senior Notes
due 2027

Sayan Bhattacharyya, Paul Hastings LLP
Client(s): Ad Hoc Crossholder Group

Matthew Garofalo, Paul Hastings LLP
Client(s): Ad Hoc Crossholder Group

Edan Lisovicz, Akin Gump Strauss Hauer & Feld LLP
Client(s): Official Committee of Unsecured Creditors

Naomi Moss, Akin Gump Strauss Hauer & Feld LLP
Client(s): Official Committee of Unsecured Creditors

Bruce Ruzinsky, Jackson Walker LLP
Client(s): NBA

Michael Mervis, Proskauer
Client(s): NBA

Steve Ma , Proskauer
Client(s): NBA


Page 1 of 2
         Case 23-90116 Document 2670 Filed in TXSB on 11/14/24 Page 2 of 2

                                        Electronic Appearance Sheet



Ha Nguyen, U.S. Trustee
Client(s): U.S. Trustee

Ross Firsenbaum, WilmerHale
Client(s): Debtors

Zack Clement , Zack A. Clement PLLC
Client(s): Sinclair Broadcast

Andrew Goldman, WilmerHale
Client(s): Debtors

Carolyn Hightower, Pro Se, None, Pro Se
Client(s): Employee

Joseph Trem, Pro Se, None, Pro Se
Client(s): Diamond

Zachary Manning, Kirkland & Ellis LLP
Client(s): Sinclair Broadcast Group, Inc.

Anndrea Cruz, Diamond Sports Group
Client(s): Employee

Anndrea Cruz, Diamond Sports Group
Client(s): Employee

John Higgins, Porter Hedges LLP
Client(s): Debtor

Anndrea Cruz, Diamond Sports
Client(s): Employee




Page 2 of 2
